              Case 16-30459                 Doc       Filed 08/22/19        Entered 08/22/19 16:53:24                          Desc Main
 Fill in this information to identify the case:           Document          Page 1 of 9
 Debtor 1               Kimberley MH Bolden
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Northern                         Illinois
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        16-30459
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   MTGLQ Investors, LP
 Name of creditor: _______________________________________                                                           6
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          6 ____
                                                         ____ 8 ____
                                                                8 ____
                                                                     2                   Must be at least 21 days after date       10 01 2019
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1,990.59
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             .01
                   Current escrow payment: $ _______________                           New escrow payment:           1,151.35
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
            Case 16-30459                      Doc          Filed 08/22/19            Entered 08/22/19 16:53:24                 Desc Main
                                                                Document              Page 2 of 9

Debtor 1          Kimberley     MH             Bolden
                 _______________________________________________________                                                16-30459
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8 /s/ Samantha San Jose
     _____________________________________________________________
     Signature
                                                                                                Date    08     22 2019
                                                                                                         ____/_____/________




 Print:              Samantha                               San Jose
                    _________________________________________________________                   Title    Attorney for Creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Randall S. Miller & Associates, LLC
                    _________________________________________________________



 Address            120 N. LaSalle St. #1140
                    _________________________________________________________
                    Number                 Street

                    Chicago                            IL        60602
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       312
                    (______) 239 _________
                             _____– 3432                                                               ssanjose@rsmalaw.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                P.O. Box 55004                     ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
                Suite 100
                Irvine, CA 92619

                www.rushmorelm.com




FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN
DISCHARGED IN BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS
NOT AN ATTEMPT TO COLLECT A DEBT. PLEASE NOTE THAT EVEN IF YOUR DEBT
HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO LONGER PERSONALLY
LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAY,
PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.


IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN
THAT YOU ARE ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS
WAS CALCULATED BASED ON AN ASSUMPTION THAT THE ACCOUNT IS CURRENT
ACCORDING TO THE TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST. IF THE
ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS MAY NOT
REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY
PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS
$50 OR GREATER, THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED
THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
TRUST.

*If there is an amount listed in the “Actual” column under Payments To Escrow Account on
Page 2 above, then this is the assumption that was made and indicates the amount that
would have been paid into escrow for a contractually current loan. This number does not
represent payments that were actually made by you. As discussed above, these escrow
calculations are calculated based on an assumption that the account would be current
according to the terms of the note and mortgage/deed of trust.
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                       UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS (Chicago)

In re:

Kimberley MH Bolden,                            Case No: 16-30459
Debtor.                                         Chapter: 13
                                                Judge: Jack B. Schmetterer

                              CERTIFICATE OF SERVICE
______________________________________________________________________________
      The undersigned states that on August 22, 2019, copies of the Notice of Mortgage
Payment Change were served upon the following parties:


Debtor                                                            Chapter 13 Trustee
Kimberley MH Bolden                                               Tom Vaughn
1929 N. Howe Street                                               55 E. Monroe Street,
Unit #1E                                                          Suite 3850
Chicago, IL 60614                                                 Chicago, IL 60603

Debtor’s Attorney                                                 U.S. Trustee
Christine H Clar                                                  Patrick S Layng
David M Siegel & Associates                                       Region 11
790 Chaddick Drive                                                219 S Dearborn St
Wheeling, IL 60090                                                Room 873
                                                                  Chicago, IL 60604


       via first class mail, with proper postage affixed thereto to the Debtor(s) and via the
Court’s CM-ECF electronic filing system to the Debtor’s Attorney, the Chapter 13 Trustee, and
the U.S. Trustee.

The above is true to the best of my information, knowledge and belief.


                                                    /s/ Cassandra McLone
                                                    Randall S. Miller & Associates, P.C.
                                                    43252 Woodward Ave, Suite 180
                                                    Bloomfield Hills, MI 48302
                                                    P: (248) 636-1208
                                                    cmclone@rsmalaw.com
